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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE



 IN RE CHANBOND, LLC, PATENT                     C.A. No. 15-842-RGA
 LITIGATION
                                                  CONSOLIDATED
 THIS DOCUMENT RELATES TO:


 ChanBond, LLC v. Atlantic Broadband            C.A. NO. 15-842-RGA
 Group, LLC


 ChanBond, LLC v. Bright House Networks,        C.A. NO. 15-843-RGA
 LLC


 ChanBond, LLC v. Cable One, Inc.               C.A. NO. 15-844-RGA


 ChanBond, LLC v. Cablevision Systems           C.A. NO. 15-845-RGA
 Corporation and CSC Holdings, LLC


 ChanBond, LLC v. Cequel Communications,        C.A. NO. 15-846-RGA
 LLC and Cequel Communications Holdings I,
 LLC d/b/a Suddenlink Communications


 ChanBond, LLC v. Charter Communications,       C.A. NO. 15-847-RGA
 Inc.


 ChanBond, LLC v. Comcast Corporation and       C.A. NO. 15-848-RGA
 Comcast Cable Communications, LLC


 ChanBond, LLC v. Cox Communications, Inc.      C.A. NO. 15-849-RGA


 ChanBond, LLC v. Mediacom                      C.A. NO. 15-850-RGA
 Communications Corporation
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 ChanBond, LLC v. RCN Telecom Services,                        C.A. NO. 15-851-RGA
 LLC


 ChanBond, LLC v. Time Warner Cable Inc.                       C.A. NO. 15-852-RGA
 and Time Warner Cable Enterprises, LLC


 ChanBond, LLC v. WaveDivision Holdings,                       C.A. NO. 15-853-RGA
 LLC


 ChanBond, LLC v. WideOpen West Finance,                       C.A. NO. 15-854-RGA
 LLC



      JOINT STIPULATION AND [PROPOSED] ORDER FOR DISMISSAL WITH
                               PREJUDICE

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure and the terms of

a separate agreement, Plaintiff ChanBond, LLC (“ChanBond”) and Defendants Atlantic

Broadband Group, LLC, Bright House Networks, LLC, Cable One, Inc., Cablevision Systems

Corporation, CSC Holdings, LLC, Cequel Communications, LLC, Cequel Communications

Holdings I, LLC d/b/a Suddenlink Communications, Charter Communications, Inc., Comcast

Corporation, Comcast Cable Communications, LLC, Cox Communications, Inc., Mediacom

Communications Corporation, RCN Telecom Services, LLC, Time Warner Cable Inc., Time

Warner Cable Enterprises, LLC, WaveDivision Holdings, LLC, and WideOpen West Finance,

LLC (collectively, “Defendants”) have agreed to settle, adjust and compromise all claims in the

above-captioned actions and, therefore, jointly stipulate, subject to the approval of the Court, to

the dismissal of the above-captioned actions and all claims by ChanBond against Defendants and

all counterclaims by Defendants against ChanBond made therein with prejudice to the re-filing

of the same.



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                The parties agree that all costs and expenses relating to these litigations (including

attorney and expert fees and expenses) shall be borne solely by the party incurring the same.


       SO ORDERED this _____ day of ______________, 2021.


                                               ___________________________________
                                               Hon. Richard G. Andrews
                                               United States District Judge




Dated: July 9, 2021                                     Respectfully Submitted,

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